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LEONARD L. GUMPORT(SBN 086935)

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

CASE NUMBER
DAVID M. DOYLE,
2:18-cv-05412-DMG-FFM
Plaintiff(s)

 

FAST ADVANCE FUNDING, LLC, MEDIATION REPORT

 

Defendant(s).

 

Instructions: The mediator must file this Report within 5 days after the conclusion of a mediation
session even if the negotiations continue. If the case later settles with the assistance of the mediator,
the mediator must file a subsequent Report.

1. A mediation was held on (date): 12/18/18

 

L] A mediation did not take place because the case settled before the session occurred.

2. The individual parties and their respective trial counsel, designated corporate representatives, and/or
representatives of the party's insurer:

Appeared as required by Civil L.R. 16-15.5(b).

(_] Did not appear as required by Civil L.R. 16-15.5(b).
C] Plaintiff or plaintiff's representative failed to appear.
[_] Defendant or defendant's representative failed to appear.
[-] Other:

3. Did the case settle?
L] Yes, fully, on (date).
L] Yes, partially, and further facilitated discussions are expected. (See No. 4 below.)
LJ Yes, partially, and further facilitated discussions are not expected.
[_] No, and further facilitated discussions are expected. (See No. 4 below.)

 

No, and further facilitated discussions are not expected.

4, If further facilitated discussions are expected, by what date will you check in with the parties?
N/A

Dated: December 18, 2018 A 2 iY 70
Aegis of Mediator
LEONARD L. GUMPORT
The Mediator must electronically file original document in CM/ Name of Mediator (print)

ECF using one of four choices under "Civil => Other Filings =>
ADR/Mediation Documents => Mediation Report (ADR-3)."

 

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ADR-03 (03/17) MEDIATION REPORT Page 1 of 1
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PROOF OF SERVICE

STATE OF CALIFORNIA )
) ss.
COUNTY OF LOS ANGELES _ )

I am employed in the County of Los Angeles, State of California. I am over the
age of 18 and not a party to the within action; my business address is Gumport Law Firm, PC,
225 S. Lake Avenue, Suite 300, Pasadena, CA 91101..

On December 18, 2018, in the manner indicated below, the foregoing document
described as: MEDIATION REPORT was served on the interested parties in this action by
placing true copies thereof enclosed in sealed envelopes, with first class postage prepaid,
addressed as follows:

_X_ (BY FIRST CLASS U.S. MAIL or OVERNIGHT MAIL) I served the following
person(s) and/or entity(ies) at the last known address(es) in this case by placing a true and
correct copy thereof in a sealed envelope in the United States Mail, first class, postage
prepaid, and/or with an overnight mail service addressed as follows:

[SEE ATTACHED SERVICE LIST]

X_ (BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”). I checked
the CM/ECF docket for this case and determined that the following person(s) are on the
Electronic Mail Notice List to receive NEF transmission at the email addresses on the list
below:

[SEE ATTACHED NEF LIST]

KOK OK KOR

(STATE) I declare under penalty of perjury under the laws of the State of California
that the above is true and correct.

X_ (FEDERAL) | declare that I am employed in the office of a member of the bar of this
Court, at whose direction the service was made.

EXECUTED December 18, 2018 at Pasadena, California.

HLEEN MAROSY
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SERVICE LIST
DAVID M. DOYLE v. FAST ADVANCE FUNDING, LLC
Case No. 2:18-cv-05412-DMG

BY FIRST CLASS U.S. MAIL:

UNITED STATES DISTRICT COURT
The Honorable Dolly M. Gee

United States Courthouse

350 W. Ist Street, Courtroom 8C

Los Angeles, CA 90012-4565

BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”):

e David M Doyle
davedoyle9@gmail.com

e Justin Prato
jmprato@gmail.com

e Kimberly Wright
kimberly@revolvelawgroup.com,steven@revolvelawgroup.com
